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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                    TEXARKANA DIVISION

   Health Choice Group, LLC, on behalf
   of The United States of America, et al.,

                            Plaintiffs,
                                                              Civil Action No. 5:17-126-RWS-CMC
   v.

   Bayer Corporation, et al.,

                            Defendants.


                       FIRST AMENDED DOCKET CONTROL ORDER

          It is hereby ORDERED that the following schedule of deadlines is in effect until further
   order of this Court:

    Current       Amended       Event
    Date          Date
    3 DAYS                      Parties to file Motion to Seal Trial Exhibits, if they wish to seal
    after                       any highly confidential exhibits.
    conclusion
    of Trial                    EXHIBITS: See Order below regarding exhibits.

    October 28, June 22,        *9:00 a.m. JURY TRIAL before Judge Robert W. Schroeder
    2019        2020            III, Texarkana, Texas.

                                For planning purposes, parties shall be prepared to start the
                                evidentiary phase of trial immediately following jury selection.

    October 21, June 15,        *9:00 a.m. JURY SELECTION before Judge Robert W.
    2019        2020            Schroeder III, Texarkana, Texas.

    October 2,    June 2,       10:00 a.m. PRETRIAL CONFERENCE before Judge
    2019          2020          Caroline
                                Craven, Texarkana, Texas.

                                All pending motions will be heard.
                                Lead trial counsel must attend the pretrial conference.
    September     March 25,     File a Notice of Time Requested for (1) voir dire, (2) opening
    25, 2019      2020          statements, (3) direct and cross examinations, and (4) closing
                                arguments.

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    September    March 25,    File Responses to Motions in Limine.
    25, 2019     2020
    September    March 18,    File Motions in Limine and pretrial objections
    18, 2019     2020
                              The parties are ORDERED to meet and confer to resolve any
                              disputes before filing any motion in limine or objection to pretrial
                              disclosures.
    September    March 18,    File Joint Final Pretrial Order, Joint Proposed Jury
    18, 2019     2020         Instructions with citation to authority and Form of the Verdict
                              for jury trials.

                              Parties shall use the pretrial order form on Judge Schroeder’s
                              website. Proposed Findings of Fact and Conclusions of Law
                              with citation to authority for issues tried to the bench.
    September    March 11,    Exchange Objections to Rebuttal Deposition Testimony.
    11, 2019     2020
                 March 4,     Exchange Rebuttal Designations and Objections to Deposition
                 2020         Testimony.

    September                 For rebuttal designations, cross examination line and page numbers
    4, 2019                   to be included.

                              In video depositions, each party is responsible for preparation
                              of the final edited video in accordance with their parties’
                              designations and the Court’s rulings on objections.
    September    March 4,     Notice of Request for Daily Transcript or Real Time
    4, 2019      2020         Reporting of Court Proceedings due.

                              If a daily transcript or real time reporting of court proceedings is
                              requested for trial or hearings, the party or parties making said
                              request shall file a notice with the Court.
    August 21,   February     Exchange Pretrial Disclosures (Witness List, Deposition
    2019         21, 2020     Designations, and Exhibit List).

                              Video and Stenographic Deposition Designation due. Each party
                              who proposes to offer deposition testimony shall serve a
                              disclosure identifying the line and page numbers to be offered.
    July 2,      January 2,   Any Remaining Dispositive Motions due from all parties and
    2019         2020         any other motions that may require a hearing (including
                              Daubert motions).

                              Motions shall comply with Local Rule CV-56 and Local Rule CV-
                              7. Motions to extend page limits will only be granted in
                              exceptional circumstances.



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                            For each motion filed, the moving party SHALL provide the Court
                            with one (1) copy of the completed briefing (opening motion,
                            response, reply, and if applicable, sur-reply), excluding exhibits,
                            in a three-ring binder appropriately tabbed. All documents shall
                            be double-sided and must include the CM/ECF header. These
                            copies shall be delivered to Judge Schroeder’s chambers in
                            Texarkana as soon as briefing has completed.

                            Respond to Amended Pleadings.
    June 22,    December    Mediation to be completed (if applicable). If the parties agree to
    2019        22, 2019    mediate this case, the mediation will be completed by this date.

    June 22,    December    File Notice of Mediator
    2019        22, 2019
    June 14,    December    Deadline to Complete Expert Discovery
    2019        14, 2019
    May 24,     November    Parties designate rebuttal expert witnesses, rebuttal expert
    2019        24, 2019    witness reports due. Refer to Local Rules for required
                            information.

                            If, without agreement, a party serves a supplemental expert report
                            after the rebuttal expert report deadline has passed, the serving
                            party must file notice with the Court stating service has occurred
                            and the reason why a supplemental report is necessary under the
                            circumstances.
    April 19,   October      Parties with burden of proof designate expert witnesses.
    2019        19, 2019
                          Expert witness reports due. Refer to Local Rules for required
                          information.
    March 15,   September Fact Discovery Deadline.
    2019        15, 2019
    February    August    Deadline to Amend Pleadings.
    15, 2019    15, 2019
                          It is not necessary to file a Motion for Leave to Amend before the
                          deadline to amend pleadings. It is necessary to file a Motion for
                          Leave to Amend after the deadline.
    February    August    Deadline to File Motions to Compel Regarding Discovery
    15, 2019    15, 2019  Disputes.
    February    August    Deadline to Complete Document Production and Exchange
    15, 2019    15, 2019  Privilege Logs.

                            Counsel are expected to make good faith efforts to produce all
                            required documents as soon as they are available and not
                            wait until the substantial completion deadline.
    15 days                 EXPECTED LENGTH OF TRIAL


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            *Court designated date – not flexible without good cause - Motion Required

          In the event that any of these dates fall on a weekend or Court holiday, the deadline is
   modified to be the next Court business day.

           The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s
   failure to oppose a motion in the manner prescribed herein creates a presumption that the party
   does not controvert the facts set out by movant and has no evidence to offer in opposition to the
   motion.”

           A party may request an oral hearing on a motion filed with the Court. Any such request
   shall be included in the text or in a footnote on the first page of the motion or any responsive
   pleading thereto. The Court does not hold telephonic hearings absent unusual circumstances.


                                                Other Limitations

      (a)      The following excuses will not warrant a continuance or justify a failure to comply
               with the discovery deadline:
                 (i) The fact that there are motions for summary judgment or motions to dismiss;
                (ii) The fact that one or more of the attorneys is set for trial in another court on the
                        same day, unless the other setting was made prior to the date of this order or
                        was made as a special provision for the parties in the other case;
               (iii) The failure to complete discovery prior to trial, unless the parties can
                        demonstrate that it was impossible to complete discovery despite their good
                        faith effort to do so.
      (b)      Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
               the DCO shall take the form of a motion to amend the DCO. The motion shall include
               a chart in the format of the DCO that lists all of the remaining dates in one column (as
               above) and the proposed changes to each date in an additional adjacent column (if there
               is no change for a date the proposed date column should remain blank or indicate that
               it is unchanged). The motion to amend the DCO shall also include a proposed DCO in
               traditional two-column format that incorporates the requested changes and that also
               lists all remaining dates. In other words, the DCO in the proposed order should be
               complete such that one can clearly see all the remaining deadlines rather than needing
               to also refer to an earlier version of the DCO.
      (c)      Motions in Limine: Each side is limited to one (1) motion in limine addressing no more
               than ten (10) disputed issues. In addition, the parties may file a joint motion in limine
               addressing any agreed issues. The Court views motions in limine as appropriate for
               those things that will create the proverbial “skunk in the jury box,” e.g., that, if
               mentioned in front of the jury before an evidentiary ruling can be made, would be so
               prejudicial that the Court could not alleviate the prejudice with an appropriate
               instruction. Rulings on motions in limine do not exclude evidence, but prohibit the

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                    party from offering the disputed testimony prior to obtaining an evidentiary ruling
                    during trial.
        (d)         Exhibits: Each side is limited to designating 250 exhibits for trial absent a showing of
                    good cause. The parties shall use the exhibit list sample form on Judge Schroeder’s
                    website.
        (e)         Deposition Designations: Each side is limited to designating no more than ten (10)
                    hours of deposition testimony for use at trial absent a showing of good cause. As trial
                    approaches, if either side needs to designate more than ten (10) hours, the party may
                    file a motion for leave and show good cause. All depositions to be read into evidence
                    as part of the parties’ case-in-chief shall be EDITED so as to exclude all unnecessary,
                    repetitious, and irrelevant testimony; ONLY those portions which are relevant to the
                    issues in controversy shall be read into evidence.
        (f)         Witness Lists: The parties shall use the witness list sample form on Judge Schroeder’s
                    website.


              ORDER REGARDING EXHIBITS, EXHIBIT LISTS AND WITNESS LISTS:

   A.         On the first day of trial, each party is required to have:

              (1)      One copy of their respective original exhibits on hand. Each exhibit shall be
                       properly labeled with the following information: Identified as either Plaintiff’s or
                       Defendant’s Exhibit, the Exhibit Number and the Case Number.
              (2)      Three hard copies of each party’s exhibit list and witness list on hand.
              (3)      One copy of all exhibits on USB Flash Drive(s) or portable hard drive(s). This shall
                       be tendered to the Courtroom Deputy at the beginning of trial.

   B.         The parties shall follow the process below to admit exhibits.

              (1) On the first day of trial, each party shall tender a preadmitted list of exhibits it plans to
                  admit into evidence. This list shall include all exhibits which are NOT objected to or
                  to which the Court has already overruled an objection. To the extent there are exhibits
                  with outstanding objections for which the parties need a ruling from the Court, those
                  exhibits should be separately included on the list and designated accordingly to reflect
                  a pending objection. Parties shall entitle the list “[Plaintiff’s/Defendant’s] List of
                  Preadmitted Exhibits.” If, during the course of the day’s testimony, a party wishes to
                  offer an objected exhibit into evidence, the party may move for admission at the time
                  it wishes to use that exhibit with a witness. The Court will then hear the opposing
                  party’s objection and will rule on the objection at that time.

              (2) On each subsequent day of trial, the Court will commence by formally admitting all of
                  the exhibits that were either unobjected to or allowed over objection and used during
                  the previous day’s trial. The Court will ask for these exhibits to be read into the record
                  and formally admitted into evidence at the beginning of that trial day. These will be the


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              exhibits deemed admitted at trial. The parties shall keep a separate running list of all
              exhibits admitted throughout the course of trial.

        (3) At the conclusion of evidence, each party shall read into the record any exhibit that was
            used but not previously admitted during the course of trial and then tender its final list
            of every admitted exhibit, entitled “[Plaintiff’s/Defendant’s] Final List of All Admitted
            Exhibits.” To the extent there are exhibits that were not admitted during the course of
            trial, but for which there is agreement that they should be provided to the jury, the
            parties must inform the Court of those exhibits at the conclusion of evidence. The Court
            will then determine whether those exhibits will be allowed into the jury room for
            deliberations.

   C.   At the conclusion of evidence, each party shall be responsible for pulling those exhibits
        admitted at trial and shall tender those to the Courtroom Deputy, who will verify the
        exhibits and tender them to the jury for their deliberations. One representative from each
   .    side shall meet with the Courtroom Deputy to verify the exhibit list.

   D.   At the conclusion of trial, all boxes of exhibits shall be returned to the respective parties
        and the parties are instructed to remove these exhibits from the courtroom.

   E.   Within five business days of the conclusion of trial, each party shall submit to the
        Courtroom Deputy:

        (1)      A Final Exhibit List of Exhibits Admitted During Trial in Word format.
        (2)      Two CDs containing admitted unsealed trial exhibits in PDF format. If the Court
                 ordered any exhibits sealed during trial, the Sealed Exhibits shall be submitted on
                 a separate CD. If tangible or over-sized exhibits were admitted, such exhibits shall
                 be substituted with a photograph in PDF format.
        (3)      A disk containing the transcripts of Video Depositions played during trial, along
                 with a copy of the actual video deposition.

         SIGNED this 30th day of January, 2019.




                                                        ____________________________________
                                                        CAROLINE M. CRAVEN
                                                        UNITED STATES MAGISTRATE JUDGE




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